        Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 1 of 18




Ira S. Sacks
Mark S. Lafayette
Jamie B. Shyman
AKERMAN LLP
666 Fifth Avenue, 20th Floor
New York, New York 10103
Tel. (212) 880-3800
Fax (212) 905-6458
Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KIPLING APPAREL CORP.,                                      Civil Action No.

                      Plaintiff,                            COMPLAINT

               -against-                                    JURY TRIAL DEMANDED

JOHN DOES 1-30, JACK DOES 31-60 and JANE                    [FILED UNDER SEAL]
DOES 61-100,
                  Defendants.


       Plaintiff Kipling Apparel Corp. ("Kipling" or "Plaintiff"), for its Complaint for trademark

counterfeiting, trademark infringement and related claims against JOHN DOES 1-30, JACK

DOES 31-60 and JANE DOES 61-100 (collectively, the "Defendants"), alleges on knowledge as

to Plaintiff's own acts and otherwise on information and belief, as follows:

                                   NATURE OF THE ACTION

       1.      This is a civil action for counterfeiting in violation of 15 U.S.C. § 1114;

trademark infringement in violation of 15 U.S.C. § 1114; false designation of origin and unfair

competition in violation of 15 U.S.C. § 1125(a); and related state and common law claims (the

"Action"). Plaintiff seeks an ex parte temporary restraining order, an ex parte order of seizure,

expedited discovery, preliminary and permanent injunctive relief, actual or statutory damages,

recapture of profits, reasonable attorneys fees and costs, a sealing order and such other and
         Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 2 of 18




further relief as this Court deems just and proper.

                                             PARTIES

       2.       Plaintiff Kipling Apparel Corp. ("Kipling") is a Delaware corporation with its

principal place of business in Wilmington, DE.

       3.       Defendants John Does 1-30 ("John Does") are street vendors operating in New

York City (hereinafter the "Street Vendor Defendants").

       4.       Defendants Jack Does 31-60 ("Jack Does") are entities or individuals engaged in

the supply of merchandise to the Street Vendor Defendants.

        5.      Defendants Jane Does 61-100 ("Jane Does") are entities or individuals engaged in

the manufacture of merchandise supplied to the Street Vendor Defendants.

        6.      Due to the nature of Defendants John Does', Jack Does' and Jane Does' business

practices, the identities of Defendants are not presently known. If Defendants' identities become

known, the Complaint herein will be amended to include such names of these individuals and

corporations.

        7.      Defendants are doing business in New York and in this District.

                                 JURISDICTION AND VENUE

        S.      This is an action for trademark counterfeiting, trademark infringement and false

designation of origin arising under the Trademark Act of 1946, 15 U.S.C. §§ 1051, et, seq., as

amended (the "Lanham Act"), and for unlawful and deceptive acts and practices under the laws

of the State of New York.

        9.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1332,

1338(a), (b); and 15 U.S.C. §§ 1116, 1121. This Court has jurisdiction over Plaintiff's claims for

unlawful and deceptive acts and practices under the laws of the State of New York pursuant to



                                                  2
         Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 3 of 18




the principles of supplemental jurisdiction and 28 U.S.C. § 1367.

       10.     This Court has personal jurisdiction over Defendants because Defendants conduct

business in New York and in this District and/or purposely target and/or direct their activities at

the State of New York and this District.

       11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendants

conduct business in this District and a substantial part of the events or omissions giving rise to

the Action occurred in, and caused damage to Plaintiff in, this District.

                                  KIPLING' S TRADEMARKS

       12.     Kipling-branded merchandise, including but not limited to, handbags, backpacks,

fanny packs, totes, luggage and related accessories (the "Kipling Products") is distributed and

sold by the Sportswear (in North America) and Outdoor and Action Sports (outside North

America) Coalitions of VF Corporation ("VFC").

       13.     Genuine Kipling Products are sold in the United States through department,

specialty and luggage stores, more than 30 company-operated full-price and outlet stores, and

online at Kipling's website, www.kipling.com.

       14.     Kipling has numerous and valuable common law trademarks and other rights as a

result of its extensive use, advertising and promotion of the Kipling Products.

       15.     Kipling has also protected its valuable rights by filing for and obtaining United

States trademark registrations. Kipling's registered and common law trademarks are collectively

referred to herein as the "Kipling Marks."




                                                 3
          Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 4 of 18




       16.     The Kipling Marks include, but are not limited to, the following registrations in

the United States Patent and Trademark Office:

Registration        Trademark                     Word mark               Goods and Services
  Number
4816387                                           Kipling       Metal locks for luggage; passport cases;
                  KIPLING                                       pen or pencil holder; towels

4814427                                           Kipling       Retail store services featuring bags and
                  kiptiN-64K                      Make Happy    related accessories; online retail store
                                                                services and mail order retail store
                          *LAKE          fiAPPY
                                                                services featuring bags and related
                                                                accessories
4708413                                           Kipling       Metal locks for luggage; passport cases;
                kiprirr                                         pen or pencil holders; towels

4708411                v                          Kipling       Passport cases; pen or pencil holders
                    Nit L. 14%.
                  fly
                  a*      %
                         *a
                  1APA (iN"
                   twilitul
                     *****************
4537944                                           Kipling       Jackets
                  KIPLING
4455299               „too...,                    Kipling       Jackets
                    *V 11.1".
                   l*
                   it,
                    \firi
                           V
                      ...moo'e
                          N
                               r                  Kipling




3397799               1C                          Kipling       Retail store and wholesale store services
                kiptiN6r.                                       in the field of handbags, luggage and
                                                                related accessories; providing consumer
                                                                product and dealer information via the
                                                                internet
2945417                                           Kipling       travel cases; suitcases; school bags; bags,
                  KIPLING                                       namely, all purpose sport bags, bags for
                                                                campers, bags for climbers, cosmetic
                                                                bags sold empty, duffel bags, clutch bags,
                                                                handbags, travel bags; and backpacks
2159124         ,. ,                              Kipling       Clothing, namely, T-shirts
                Kiptur
1952994               1                           Kipling       Traveling trunks and traveling bags,
                kipllic6It                                      handbags, school bags, athletic sport
                                                                bags, make-up bags sold empty, toilet


                                                            4
          Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 5 of 18




                                                            cases old empty, suitcases, attaché cases,
                                                            book bags, rucksacks, backpacks, waist
                                                            packs, key cases, pocket wallets, purses,
                                                            and umbrellas
1889891                   -apt ,,,,,,,         Kipling      Traveling bags; handbags; schoolbags; all
                    .44   L4, ..,,.            Kipling      purpose sports bags; cosmetic bags sold
                   f*opti
                    *             *1                        empty; vanity cases sold empty;
                   it.10
                       , e;     •&t:                        suitcases; carrying cases for books,
                      vretrAN,
                         ft... „N                           stationery, clothing and shoes; rucksacks;
                                                            backpacks; waist packs; bags for board
                                                            games and card games; key cases; pocket
                                                            wallets and purses
1511776                                        Kipling Back Handbags, suitcases and wallets
                    <,p tNq                    To The Bag
                    . ce TO      TNi     100




True and correct copies of the online registration information of the foregoing are attached hereto

as Exhibit A.

       17.      All of the foregoing registrations are valid, subsisting, unrevoked and

uncancelled. Additionally, many of the foregoing registrations have achieved incontestable

status pursuant to 15 U.S.C. § 1065: U.S. Reg. Nos. 3,397,799, 2,945,417, 2,159,124, 1,952,994,

1,889,891 and 1,511,776.

       18,      Long prior to the acts of Defendants complained of herein, Kipling commenced

with the use of the following distinctive trade dress: (i) crinkled nylon fabric; (ii) matte silver or

grey metallic zippers, with a circular plastic end tab containing a metal center and oversized

zipper teeth; and (iii) one or more concentric circle emblem(s) with raised symmetrical details

stemming from the epicenter of the circle (the "Kipling Trade Dress"). True and correct copies

of photographs of a sample genuine Kipling Product incorporating the Kipling Trade Dress are

attached hereto as Exhibit B.

        19.     The Kipling Marks and Kipling Trade Dress are highly visible and distinctive

symbols of excellence in quality and uniquely associated with Kipling.

                                                       5
         Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 6 of 18




       20.     The Kipling Marks and Kipling Trade Dress are featured prominently in the

advertising and promotion of the Kipling Products. The Kipling Products generated over $123

million in sales in the United States in 2015 alone.

       21.     Kipling's expenditures on advertising in the United States in 2015 were over $6.7

million. As a result of Kipling's marketing and promotion efforts and the high quality of the

Kipling Products, Kipling Products have become prominently placed in the minds of the

consuming public. Retailers, retail buyers, consumers and members of the public have become

familiar with the Kipling Marks and Kipling Trade Dress and have come to associate them

exclusively with Kipling. Kipling has acquired a valuable reputation and goodwill among the

public as a result of such association.

       22.     Kipling has gone to great lengths to protect its interests in the Kipling Marks,

reputation and goodwill. No one other than Plaintiff and its authorized distributors and licensees

are authorized to manufacture, import, export, advertise, distribute, offer for sale, and/or sell

goods utilizing one or more of the Kipling Marks, or any confusingly or substantially similar

marks, without the express permission of Plaintiff.

                         DEFENDANTS' WRONGFUL ACTIVITIES

       23.     In light of the success of Kipling and the Kipling Products, Kipling Products

bearing one or more of the Kipling Marks have become targets for unscrupulous individuals and

entities who wish to capitalize on the goodwill, reputation and fame of the Kipling Marks,

Kipling Trade Dress and Kipling Products,

       24,     Plaintiff investigates such activity, and through such efforts, learned that the

Street Vendor Defendants, operating as street vendors in and around New York City, have

offered for sale and sold goods, supplied by Defendants Jack Does 31-60 and manufactured by



                                                 6
        Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 7 of 18




Defendants Jane Does 61-90, which bear counterfeits, reproductions, copies and/or colorable

imitations of U.S. Reg. No. 1,889,891 and/or goods which display spurious designations that are

identical with, or substantially indistinguishable from U.S. Reg. No. 1,889,891 (the "Counterfeit

Products") and continue to do so. True and correct copies of photographs of sample Counterfeit

Products being sold by certain of the Street Vendor Defendants at locations (i) in front of PC
                                                                                 th
Richard & Son located at 120 East 14th Street, New York, New York 10003 at the 14 street

south side between Irving and 3rd Avenue; and (ii) the northeast corner of 53rd Street and Fifth

Avenue in New York City, are annexed hereto as Exhibit C.

       25,     Defendants, without authorization or license from Plaintiff, have knowingly and

willfully used and continue to use counterfeits of U.S. Reg. No. 1,889,891 in connection with the

offer for sale and sale of the Counterfeit Products, through, inter alia, making the Counterfeit

Products available for sale at street vendor locations operated by the Street Vendor Defendants in

and around New York City.

       26.     Plaintiff did not manufacture, inspect or package the Counterfeit Products and did

not approve the Counterfeit Products for sale or distribution.

       27.     Defendants are not, nor have they ever been, authorized manufacturers, suppliers,

vendors, distributors or licensees of the Kipling Products or goods bearing any one or more of

the Kipling Marks, Neither Plaintiff nor Plaintiff's authorized agents have consented to

Defendants' use of any one or more of the Kipling Marks, nor have they consented to

Defendants' use of any marks identical to, or confusingly similar with, any one or more of the

Kipling Marks.

       28.     In addition, the goods manufactured, supplied and/or sold and/or offered for sale

by the Defendants bear marks that are confusingly similar to U.S. Reg. No. 1,889,891 (the



                                                 7
         Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 8 of 18




"Infringing Products", and with the Counterfeit Products, the "Illegal Products") and designs

which are confusingly similar to the Kipling Trade Dress which are likely to confuse consumers

as to Kipling's sponsorship of, association with, or endorsement of, the Infringing Products.

       29.     Defendants' illegal counterfeiting and infringing actions alleged herein, and

Defendants' use of marks identical to, substantially indistinguishable from, and/or confusingly

similar to, U.S. Reg. No. 1,889,891 on or in connection with the offering for sale and sale of the

Illegal Products: (i) are likely to cause and has caused confusion, mistake and deception by and

among the consuming public that all such goods originate with Kipling; (ii) are likely to cause

and has caused confusion, mistake and deception by and among the consuming public that there

is some affiliation, connection or association of the Illegal Products with Kipling; and/or (iii) are

likely to cause and has caused confusion, mistake and deception by and among the consuming

public that the Illegal Products are being offered with the sponsorship or approval of Plaintiff.

       30.     Defendants offered for sale and sold, supplied and/or manufactured the Illegal

Products knowing that the Illegal Products bore infringements and counterfeits of one or more of

the Kipling Marks and/or the Kipling Trade Dress, or willfully ignored whether the goods bore

infringements and counterfeits of one or more of the Kipling Marks and/or the Kipling Trade

Dress. Defendants engaged in a deliberate effort to cause confusion and mistake among the

consuming public as to the source, affiliation and/or sponsorship of said goods and, to gain to

Defendants, the benefit of the enormous goodwill associated with the Kipling Products and/or

products bearing one or more of the Kipling Marks and/or the Kipling Trade Dress.

        31.    Unless enjoined, Defendants will continue to cause irreparable harm to Plaintiff.




                                                  8
         Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 9 of 18




                             FIRST CLAIM FOR RELIEF
                       FEDERAL TRADEMARK COUNTERFEITING
                                  (15 U.S.C. § 1114)

        32.     Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 31

above as if fully set forth herein.

        33.     The Counterfeit Products use marks that are identical to or substantially

indistinguishable from U.S. Reg. No. 1,889,891.

        34.     Defendants' manufacture, distribution, offer for sale and/or sale of the Counterfeit

Products was without Plaintiff's authorization or consent.

        35.     Defendants' manufacture, distribution, offer for sale and/or sale of the Counterfeit

Products was knowing and intentional, with knowledge of both Plaintiff's well-known and prior

rights in the Kipling Marks and the fact that Defendants' Counterfeit Products bear marks which

are identical to or substantially indistinguishable from U.S. Reg. No. 1,889,891.

        36.     The Street Vendor Defendants have offered for sale and/or sold the Counterfeit

Products to the consuming public in competition with the Plaintiff's sale of genuine Kipling

Products.

        37.     Defendants have engaged in intentional and willful trademark counterfeiting in

violation of 15 U.S.C. § 1114.

        38.     As a direct and proximate result of Defendants' actions alleged herein,

Defendants have caused substantial and irreparable injury and damage to Plaintiff and their

valuable Kipling Marks for which Plaintiff has no adequate remedy at law.

        39.     Unless Defendants' actions are immediately enjoined, Defendants will continue to

cause damage to Plaintiff and their valuable Kipling Marks and Plaintiff will continue to suffer

irreparable harm and injury.



                                                  9
        Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 10 of 18




                             SECOND CLAIM FOR RELIEF
                         FEDERAL TRADEMARK INFRINGEMENT
                                   (15 U.S.C. § 1114)

        40,     Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 39

above as if fully set forth herein.

        41.     Plaintiff is the owner of all right, title and interest in and to U.S. Reg, No.

1,889,891.

        42.     U.S. Reg. No. 1,889,891, and the goodwill of the business associated with it, is of

great and incalculable value, is highly distinctive, and has become associated by the consuming

public with the high quality and unique style of the Kipling Products.

        43.     Defendants knowingly and intentionally reproduced, copied, and colorably

imitated U.S. Reg. No. 1,889,891 and applied such reproductions, copies or colorable imitations

to the goods offered for sale and/or sold.

        44.     Defendants' actions have been deliberate and committed with knowledge of

Plaintiff's exclusive rights and goodwill in U.S. Reg. No. 1,889,891, as well as with bad faith

and the intent to cause confusion, mistake and deception.

        45,     Defendants' manufacture, supply, sale and/or offer for sale of the Illegal Products,

without Plaintiff's consent, constitutes trademark infringement in violation of 15 U.S.C. § 1114,

Such use is likely to cause confusion, deception and mistake among the consuming public as to

the source, approval or sponsorship of the Illegal Products.

        46.     As a direct and proximate result of Defendants' unlawful and infringing actions as

alleged herein, Plaintiff has suffered substantial and irreparable injury, loss and damage to its

business and its rights in and to U.S. Reg. No. 1,889,891 and the goodwill associated therewith,

for which Plaintiff has no adequate remedy at law.



                                                 10
          Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 11 of 18




          47.   Unless Defendants' unlawful and infringing actions as alleged herein are

immediately enjoined, Defendants will continue to cause damage to Plaintiff and their valuable

Kipling Marks and Plaintiff will continue to suffer irreparable harm and injury.

                              THIRD CLAIM FOR RELIEF
                       FEDERAL FALSE DESIGNATION OF ORIGIN,
                        PASSING OFF AND UNFAIR COMPETITION
                                  (15 U.S.C. 4 1125(a))

          48.   Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 47

above as if fully set forth herein.

          49.   Plaintiff is the owner of all right, title and interest in and to the Kipling Marks.

          50.   The Kipling Marks are inherently distinctive and/or have acquired distinctiveness.

          51.   Defendants' use of copies or simulations of one or more of the Kipling Marks in

connection with Defendants' manufacture, distribution, offer for sale and/or sale of the Illegal

Products is likely to cause and is causing confusion, mistake and deception among the general

purchasing public as to the origin of the Illegal Products, and is likely to deceive the public into

believing the Illegal Products being sold, offered for sale, supplied and/or manufactured by

Defendants originate from, are associated with or are otherwise authorized by Plaintiff, all to the

damage and detriment of Plaintiff's reputation, goodwill and sales.

          52.   The Illegal Products manufactured, supplied, sold and/or offered for sale by

Defendants are of the same type as the Kipling Products sold and offered for sale by the Plaintiff

Defendants' sale of the Illegal Products is likely to cause confusion to the general purchasing

public.

          53.   By misappropriating and using one or more of the Kipling Marks, Defendants

misrepresent and falsely describe to the general public the origin and source of the Illegal

Products and create a likelihood of confusion by consumers as to the source of such


                                                   11
        Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 12 of 18




merchandise.

       54.     Defendants' unlawful, unauthorized and unlicensed manufacture, supply, offer for

sale and/or sale of the Illegal Products creates express and implied misrepresentations that the

Illegal Products were created, authorized or approved by Plaintiff, all to Defendants' profit and

Plaintiff's great damage and injury.

       55.     Defendants' aforesaid acts are in violation of Section 43(a) of the Lanham Act, 15

U.S.C. § 1125(a). Defendants' manufacture, supply, offer of sale and/or sale of the Illegal

Products in interstate commerce constitutes a false designation of origin and unfair competition.

       56.     As a direct and proximate result of Defendants' aforementioned wrongful actions,

Defendants have caused irreparable injury to Plaintiff Defendants, by (i) depriving Plaintiff of

sales of its Kipling Products, (ii) injuring the value of one or more of the Kipling Marks and (iii)

causing loss and damage to Plaintiff's business and Plaintiffs rights in and to one or more of the

Kipling Marks and the goodwill associated therewith, have injured Plaintiff in a manner as to

which Plaintiff has no adequate remedy at law.

        57.     Unless Defendants' unlawful actions as alleged herein are immediately enjoined,

Defendants will continue to cause damage to Plaintiff and their valuable Kipling Marks and

Plaintiff will continue to suffer irreparable harm and injury.

                                FOURTH CLAIM FOR RELIEF
                               TRADE DRESS INFRINGEMENT

        58.     Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 57

above as if fully set forth herein.

        59.     Kipling's Trade Dress is entitled to protection because it is inherently distinctive,

non-functional and/or it has acquired distinctiveness.

        60.     Defendants' use of copies or simulations of the Kipling Trade Dress in connection


                                                 12
        Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 13 of 18




with Defendants' sale of the Illegal Products constitutes trade dress infringement and is likely to

cause and is causing confusion, mistake and deception among the general purchasing public as to

the origin of the Illegal Products, and is likely to deceive the public into believing the Illegal

Products being manufactured, supplied, offered for sale and/or sold by Defendants originate

from, are associated with or are otherwise authorized by Plaintiff, all to the damage and

detriment of Plaintiff's reputation, goodwill and sales.

       61.      As a direct and proximate result of Defendants' unlawful and infringing actions as

alleged herein, Plaintiff has suffered substantial and irreparable injury, loss and damage to its

business and its rights in and to the Kipling Trade Dress and the goodwill associated therewith,

for which Plaintiff has no adequate remedy at law.

        62.     Unless Defendants' unlawful and infringing actions as alleged herein are

immediately enjoined, Defendants will continue to cause damage to Plaintiff and its valuable

Kipling Trade Dress and Plaintiff will continue to suffer irreparable harm and injury.

                            FIFTH CLAIM FOR RELIEF
                      COMMON LAW TRADEMARK INFRINGEMENT
                           AND UNFAIR COMPETITION

        63.     Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 62

above as if fully set forth herein.

        64.     The aforementioned acts of Defendants constitute trademark infringement and

unfair competition in violation of the common law of the State of New York.

        65.     Such conduct on the part of Defendants has injured Plaintiff and has caused and

threatens to cause irreparable injury to Plaintiff, for which Plaintiff has no adequate remedy at

law.

        66.     Unless Defendants' unlawful actions as alleged herein are immediately enjoined,



                                                 13
         Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 14 of 18




Defendants will continue to cause damage to Plaintiff and its valuable Kipling Marks and the

Kipling Trade Dress and Plaintiff will continue to suffer irreparable harm and injury.

                            SIXTH CLAIM FOR RELIEF
                  VIOLATION OF DECEPTIVE ACTS AND PRACTICES
                       (N.Y. GENERAL BUSINESS LAW § 349)

        67.     Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 66

above as if fully set forth herein.

        68.     Through Defendants' unlawful, unauthorized and unlicensed use of marks which

are identical or confusingly similar to one or more of the Kipling Marks in connection with the

manufacture, supply, offering for sale, selling and/or otherwise dealing with the Illegal Products,

and/or Defendants' use of copies or simulations of the Kipling Trade Dress in connection with

Defendants' sale of the Illegal Products, Defendants have engaged in consumer-oriented conduct

that has adversely affected the public interest and has resulted in injury to consumers in New

York.

        69.     Defendants' aforementioned conduct was and is a willful and deliberate attempt

to mislead consumers and constitutes the use of deceptive acts or practices in the course of

business, trade or commerce. Such conduct has deceived and materially misleads, or has a

tendency to mislead the consuming public and has injured, and will continue to injure Plaintiff's

business, reputation and goodwill in violation of N.Y. Gen. Bus. Law § 349.

        70.     As a result of Defendants' actions alleged herein, Plaintiff has suffered, and will

continue to suffer irreparable harm for which Plaintiff has no adequate remedy at law.

        71.     Pursuant to N.Y. Gen. Bus. Law § 349, Plaintiff is entitled to enjoin Defendants'

unlawful conduct.




                                                 14
        Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 15 of 18




                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

       1.      Permanently enjoining and restraining Defendants, and their respective

subsidiaries, affiliates, divisions, officers, directors, principals, servants, employees, successors

and assigns, and all those in active concert or participation with them from:

               (a)     imitating, copying or making unauthorized use of one or more of the

Kipling Marks and/or the Kipling Trade Dress;

               (b)     manufacturing, importing, exporting, distributing, circulating, selling,

offering for sale, advertising, promoting or displaying any goods bearing any unauthorized

reproduction, copy, counterfeit or colorable imitation of one or more of the Kipling Marks and/or

the Kipling Trade Dress or any mark or design substantially indistinguishable from or

confusingly similar to any one or more of the Kipling Marks and/or the Kipling Trade Dress;

               (c)     using any unauthorized colorable imitation of one or more of the Kipling

Marks and/or the Kipling Trade Dress in connection with the manufacture, promotion,

advertisement, display, sale, offering for sale, production, import, export, circulation or

distribution of any goods in such a manner as to relate or connect, or tend to relate or connect,

such goods of Defendants in any way with Kipling or to any goods sold, sponsored, approved by,

or connected with Kipling;

               (d)     engaging in any other activity constituting unfair competition with

Kipling, or constituting an infringement of one or more of the Kipling Marks and/or the Kipling

Trade Dress or of Kipling's rights in, or its right to use or exploit such trademarks, and the

reputation and goodwill associated therewith;

               (e)     making any statement or representation whatsoever, with respect to the



                                                 15
        Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 16 of 18




infringing and counterfeit goods at issue, that falsely designates the origin of the goods as those

of Kipling, or that is false or misleading with respect to Kipling;

               (f)     engaging in any other activity, including, but not limited to, the

effectuation of assignments or transfers of its interests in goods bearing any unauthorized

reproduction, copy, counterfeit or colorable imitations of any one or more of the Kipling Marks

and/or any mark or design substantially indistinguishable from or confusingly similar to any one

or more of the Kipling Marks and/or the Kipling Trade Dress, the formation of other

corporations, partnerships, associations or other entities or the utilization of any other devices,

for the purpose of circumventing, evading, avoiding or otherwise violating the prohibitions set

forth in subsections 1(a) through 1(e) above; and

               (g)     destroying, altering, disposing of, removing, moving, transporting,

tampering with or in any manner secreting any and all business records, including invoices,

correspondence, customer/purchase lists, supplier lists, books of account, receipts, art work,

designs, sketches or other documentation, and equipment and related paraphernalia relating or

referring in any manner to or used or which could be used in or for the manufacture, advertising,

receiving, supply, acquisition, importation, purchase, sale or offer for sale, or distribution of any

merchandise bearing any unauthorized reproduction, copy, counterfeit or colorable imitation of

any one or more of the Kipling Marks and/or any mark or design substantially indistinguishable

from or confusingly similar to any one or more of the Kipling Marks and/or the Kipling Trade

Dress and any other items in their possession, custody or control, including raw materials, and

means of manufacture concerning the manufacturing, acquisition, importation, purchase,

shipment, sales or offer for sale or distribution of said unauthorized merchandise.

       2.      Authorizing Plaintiff to seize, and/or directing Defendants to deliver for



                                                 16
           Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 17 of 18




destruction, all goods, labels, tags, artwork, prints, signs, packages, dies, plates, molds, matrices

and any other means of production, wrappers, receptacles and advertisements in their possession,

custody or control bearing any unauthorized reproductions, copies, or colorable imitations of one

or more of the Kipling Marks and/or the Kipling Trade Dress or any marks or designs

confusingly similar thereto, either individually or in connection with other words, marks or

designs.

       3.       Directing such other relief as the Court may deem appropriate to prevent the trade

and public from deriving any erroneous impression that the Illegal Products manufactured,

supplied, offered for sale, sold or otherwise circulated or promoted by Defendants is authorized

by Kipling or is related to or associated in any way with the Kipling Products.

       4.       Awarding Kipling, at its election, actual damages or statutory damages in the

amount of $2,000,000 per mark for each type of good in connection with which Defendants used

counterfeits of one or more of the Kipling Marks.

       5.       Requiring Defendants to account and pay over to Kipling, all profits realized by

their wrongful acts and directing that such profits be trebled due to Defendants' willful actions.

       6.       Awarding Kipling its costs and reasonable attorneys' and investigatory fees,

expenses, costs, together with pre-judgment interest.

       7.       Awarding Kipling expedited discovery.

       8.       Awarding Kipling a sealing order.

       9.       Retaining jurisdiction over this action for the purpose of enabling Kipling to apply

to the Court at any time for such further orders and interpretation or execution of any order

entered in this action, for the modification of any such order, for the enforcement or compliance

therewith and for the punishment of any violations thereof



                                                 17
          Case 1:16-cv-08360-LGS Document 24 Filed 02/06/17 Page 18 of 18




          10.   Awarding Kipling such other and further relief as the Court may deem just and

proper.

Dated: New York, New York
        October 26, 2016



                                                          Sacks
                                                   Mark S. Lafayette
                                                   Jamie B. Shyman
                                                   666 Fifth Avenue, 20th Floor
                                                   New York, NY 10103
                                                   Tel. (212) 880-3800
                                                   Fax (212) 905-6458
                                                   Attorneys for Plaintiff Kipling
                                                   Apparel Corp.




                                              18
